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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


ASHLEY FRANCIS,

                        Plaintiff,

v.                                                              Case No: 6:22-cv-73-RBD-LHP

ACCOUNT RESOLUTION
SERVICES, LLC,

                        Defendant



                CASE MANAGEMENT AND SCHEDULING ORDER

        Upon consideration of the parties’ Case Management Report (Doc. 13), the

Court enters this Case Management and Scheduling Order (“CMSO”), which is

designed to secure the just, efficient, and inexpensive resolution of this action. Fed.

R. Civ. P. 1, 16(b); Local Rules 1.01(b), 3.02(c).

I.      OVERVIEW

        A.      Controlling Rules, Standards and Procedures

       All conduct related to this action must be civil, cooperative, conscientious,
and in strict compliance with the procedures, standards, and requirements set
forth in this CMSO, the Federal Rules of Civil Procedure (“Rules”), 1 the Local
Rules, 2 the Court’s Discovery Handbook, the Court’s Administrative Procedures

        1In this CMSO, “Rule __” refers to a Federal Rule of Civil Procedure.
        2 The deadlines provided in this CMSO are consistent with recent changes to the Federal Rules of
Civil Procedure. Where such deadlines are inconsistent with the Local Rules, the deadlines in this CMSO
and the Federal Rules control. See Local Rule 1.01(b).
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for Electronic Filing (“Filing Procedures”), and the Undersigned’s Case and Trial
Management Preferences. 3 The parties must carefully review the entirety of these
materials, which are available at the Court’s website:

                  https://www.flmd.uscourts.gov/judges/roy-dalton-jr,
                  http://www.flmd.uscourts.gov/forms/forms_policies.htm,
                  http://www.flmd.uscourts.gov/CMECF/default.htm, and
                  https://www.flmd.uscourts.gov/courtroom-technology.


         B.       Sanctions

      The parties are cautioned that the Court will diligently enforce this CMSO,
and—when necessary—will exercise its inherent and explicit authority to sanction
parties and attorneys who violate the letter or spirit of the Court’s Rules and
Orders. 4

         C.       Ex Parte Communications

       All ex parte communications concerning this action are prohibited—
including telephone calls to the Undersigned’s Chambers with requests for
information or guidance from the Court. Such requests raise constitutional and
ethical concerns, 5 and they should be unnecessary given the explicit instructions
set forth in this CMSO and the wealth of information available on the Court’s
website. In the rare instance that a concern or question remains after careful
consideration of such materials, the parties may request guidance from the Court
in a motion filed with the Clerk of the Court. See Fed. R. Civ. P. 7(b); Local Rule
3.01(a), (j).

         D.       Deadlines



         3 Counsel also shall comply with the Ideals and Goals of Professionalism adopted by the Board of
Governors of the Florida Bar on May 16, 1990 (“Ideals”). The Ideals are available at www.floridabar.org.
         4 See 28 U.S.C. § 1927; Fed. R. Civ. P. 11(c), 16(f), 26(g)(3), 37, 41(b), 83; Local Rules 2.04(a), 3.10; see

also Chambers v. NASCO, Inc., 501 U.S. 32, 43–46 (1991); Roadway Exp., Inc. v. Piper, 447 U.S. 752, 764–65
(1980); Link v. Wabash R. Co., 370 U.S. 626, 629–30 (1962).
         5 See Code of Conduct for United States Judges, Canon 3A(4); Am. Coll. of Trial Lawyers, Code of

Pretrial & Trial Conduct, Obligations to the Court, Communication with the Court (2009); see also Envtl.
Def. Fund v. Alexander, 614 F.2d 474, 480–81 (5th Cir. 1980).



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       For the convenience of the parties, a table summarizing important deadlines
is provided below. The table is merely a summary, and it must be considered in
conjunction with the entirety of the CMSO and other materials noted above (supra
Part I.A).

                                IMPORTANT NOTICE
  The Court will strictly enforce the deadlines set in this CMSO. Such deadlines
  are effective unless modified by a written Order. The parties may not modify
  the Court’s deadlines by any other means—including by an agreement that is
  not presented to and approved by the Court. See Local Rule 3.05.


                               Event                                     Deadline
 Mandatory Initial Disclosures                                          Immediately, if
                                                                         not previously
                                                                             completed
 Certificate of Interested Persons and Corporate Disclosure                 Completed
 Statement
 Motions to Add Parties or to Amend Pleadings                              July 6, 2022

 Mediation

 Within fourteen (14) days of this CMSO, Designated Lead
 Counsel shall—after conferring with opposing counsel and the
 mediator—file a Notice with the Court advising of the specific date
 and location of the parties’ mediation.
                                                      Deadline:        October 14, 2022

                                                       Mediator:                  TBD
 Expert Witness Disclosures and Reports
                                                       Plaintiff:       August 1, 2022

                                                       Defendant:         September 1,
                                                                                 2022
                                          Rebuttal (if necessary)
                                                                        October 1, 2022




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 Completion of Discovery                                             October 3, 2022

 Summary Judgment, Daubert, and Markman Motions                        November 1,
                                                                                2022
 Pre-Trial Meeting                                                 February 27, 2023

 Must take place in person
 Joint Final Pretrial Statement (“PTS”)                               March 9, 2023
 and Trial Briefs (if necessary)

 The PTS must include as attachments Deposition Designations
 and Objections, Witness Lists, Exhibit Lists, Jointly Proposed
 Voir Dire Questions, Jointly Proposed Jury Instructions, and
 Jointly Proposed Verdict Form.

 The parties must file the PTS (with all attachments) on CM/ECF
 and must email editable copies of such documents (in Microsoft
 Word® format) to chambers_flmd_Dalton@flmd.uscourts.gov.

 The case must be prepared for trial on this date.

 A Single Motion In Limine for Each Party                          February 23, 2023
 and Any Other Motions

 Does not include Daubert Motions

 Seven (7)-day response time

 Final Pretrial Conference                                           March 16, 2023
                                                                      At 10:00 AM
 Revised Trial Materials                                             March 23, 2023

 Only if warranted by events at the PTC

 The revised materials may include revised Deposition
 Designations and Objections, Witness Lists, Exhibit Lists,
 Jointly Proposed Voir Dire Questions, and Jointly Proposed Jury
 Instructions, and Jointly Proposed Verdict Form.




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 The parties must file the Revised Trial Materials on CM/ECF
 and must email editable copies of such documents (in Microsoft
 Word® format) to chambers_flmd_Dalton@flmd.uscourts.gov.
 Commencement of the Jury Trial Term                                  April 3, 2023
                                                                               Jury


II.   DISCOVERY PROCEDURES AND LIMITATIONS

      A.     Certificate of Interested Persons and Corporate Disclosure
             Statement

       No party may seek discovery from any source before filing and serving a
Certificate of Interested Persons/Corporate Disclosure Statement in the
mandatory form previously provided to the parties attached to the Initial Order.
See Local Rule 3.03. The Court may deny any filing—including an emergency
motion—if the filing party has not filed and served the Certificate of Interested
Persons and Corporate Disclosure Statement.

      B.     Depositions and Interrogatories

       Absent leave of Court, the parties may: (a) serve no more than twenty-five
(25) interrogatories, including sub-parts (Fed. R. Civ. P. 33(a)(1)); and (b) take no
more than ten (10) depositions per side—not per party (Fed. R. Civ. P. 30(a)(2)(A)
& 31(a)(2)(A)). Absent stipulation of the parties or leave of the Court, each
deposition is limited to one seven-hour day. Fed. R. Civ. P. 30(d)(1).

      C.     Production Requests

       Requests for production of documents, electronically stored information
(“ESI”), and tangible things must be made in a thoughtful, case-specific, and non-
harassing fashion. See Fed. R. Civ. P. 26(b)(1), 34(b)(1)(B). The producing party
shall conduct its production in the manner prescribed by Rule 34(b)(2)(E).

      D.     Timing and Format of Discovery Requests

      The parties are encouraged to provide electronic copies of all discovery
requests they serve on a party or a nonparty. The parties shall serve all discovery
requests sufficiently in advance of the discovery deadline so that any response will
be due by the discovery deadline.


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      E.    Responses and Objections to Discovery

      Responses to discovery requests must be timely, complete, and devoid of
boilerplate, non-specific objections. Responding with boilerplate will result in
waiver of the objections. Parties shall promptly update or amend any incomplete
or incorrect disclosure, response, objection, or production. Fed. R. Civ. P. 26(e).

      F.    Prohibition on Filing Discovery with the Court

      The parties shall not file discovery materials except to support a motion or
unless directed to do so by the Court. See Fed. R. Civ. P. 5(d)(1).

      G.    “Expert” Opinions

       On or before the deadlines set forth in this CMSO, the parties shall:
(1) pursuant to Rule 26(a)(2)(A), disclose the identity of any witness who may
provide expert opinion evidence at trial (“Expert Witness”); (2) pursuant to
Rule 26(a)(2)(B), produce a written report (“Expert Report”) for any
Expert Witness who is retained or specially employed to provide expert testimony
in this action, including any party’s employee who regularly provides expert
testimony; and (3) pursuant to Rule 26(a)(2)(C), produce a written disclosure
(“Expert Disclosure”) for any other Expert Witness. Any person who is not timely
identified as an Expert Witness in accordance with Rule 26(a)(2)(A) will be
prohibited from offering expert opinion testimony at trial. On direct
examination at trial, the Court also will strictly limit the testimony of all
Expert Witnesses to the matters that are fully and timely disclosed in an
Expert Report or Expert Disclosure.

      H.    Confidential Information

      Stipulated motions for entry of a protective order or stipulated
confidentiality agreement are strongly discouraged and unnecessary because the
Court will enforce a written agreement to protect the confidentiality of information
produced during discovery—including by designating such information as
“confidential”—so long as such agreement: (1) includes the following statement:
“No party shall file a document under seal unless the Court previously granted a
motion to file under seal which was submitted to the Court in compliance with
Local Rule 1.11.”; and (2) is signed by the necessary parties and attorneys.




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       I.    Agreements and Stipulations

      Consistent with the terms of this CMSO (supra Part I.D & Local Rule 3.05),
the parties may agree or stipulate to other discovery procedures and limitations—
including agreements concerning assertions of privilege and inadvertent
disclosure of materials that are subject to a privilege. See Fed. R.
Civ. P. 16(b)(3)(B)(iv); Fed. R. Evid. 502; Local Rule 3.05. However, parties may not
stipulate to the extension of the discovery deadline set forth in this CMSO.


III.   MOTION PRACTICE

       A.    Requests for Relief

      A party seeking relief from the Court must file a motion that complies with
Local Rule 3.01. The Court will not consider requests for relief set out in “notices”
or any other pleading besides a motion. Each request for relief should be set out in
a separate motion unless required by the Federal Rules; combining multiple
requests for relief in a single motion is generally prohibited.

       B.    Good Faith Conference and Certification Requirement

             1.    Duty to Confer

      Before filing a motion not exempted under Local Rule 3.01(g), the moving
party shall engage in a substantive conversation with the opposing party—in
person or by telephone—in a good-faith effort to resolve the issues raised by the
motion without Court intervention (“Good Faith Conference”). The duty to confer
is not satisfied by emails or other written correspondence—particularly an
exchange of ultimatums through emails, letters, or facsimiles.

             2.    Certification Requirement

       If issues requiring Court intervention exist after the Good Faith Conference,
the moving party shall file with the motion a statement certifying that the moving
party has conferred with the opposing party and whether the parties agree on the
resolution of the motion (“Certification Requirement”). The moving party must
also supplement the Certification if required by Local Rule 3.01(g). The failure to
supplement an incomplete Certification within the required time will result in a
summary denial of the motion.



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                                      IMPORTANT NOTICE

  The Court will strictly enforce the Good Faith Conference and Certification
  Requirements. Failure to satisfy the Duty to Confer or cure it pursuant to Local
  Rule 3.01(g)(3) provides sufficient grounds for summary denial of a non-exempt
  motion and imposition of sanctions.


                3.      Exempt Motions

       The Good Faith Conference and Certification Requirements are inapplicable
to the following motions: (a) summary judgment under Rule 56(a); (b) class
certification under Rule 23(c); (c) injunctive relief under Rule 65(a); and
(d) judgment on the pleadings under Rule 12(c). See Local Rule 3.01(g)(1).

                4.      Mere Attempts to Confer

      Moving parties who unsuccessfully “attempt” to confer with opposing
parties have not “conferred.”

                5.      Opposing Parties

       Opposing parties—including pro se parties—must promptly respond to
requests for a Good Faith Conference, 6 and failure to do so will likely result in the
imposition of sanctions. A response that occurs more than two business days
after a request is not “prompt.”

      C.        Page Limits and Courtesy Copies

       Absent prior leave of the Court, no party may file a motion and supporting
memorandum in excess of twenty-five (25) pages, and no party may file a
memorandum in opposition to a motion (“Response”) in excess of twenty
(20) pages. See Local Rule 3.01(a), (b).

                1.      Sanctions




      6   See Ideals, ¶ 6.10 and Creed of Professionalism ¶ 8; supra n.2.



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       The Court may strike from the record any filing that exceeds the page limits
or seeks to evade the page limits in any way—including by incorporating other
documents by reference or by submitting voluminous exhibits without pinpoint
citations. (See infra Part III.D & E.)

             2.    Requests to Exceed the Page Limit

       Motions requesting leave to exceed the page limits or to file a reply or
further memorandum are strongly disfavored and will be summarily denied
unless the motion: (a) is no more than three (3) pages long; (b) specifies the length
of the proposed filing; and (c) establishes good cause why the Court should grant
the requested relief. The Motion must not include—as an attachment or in
argument—the proposed motion, response, reply, or other paper. See Local Rules
3.01(a), (b), (d).

      D.     Duplicative Filings Prohibited

       Unless directed to do so by the Court, no party shall file any document that
is already part of the record. (See infra Part III.D.) The parties shall cite to
documents already part of the record by providing pinpoint citations to the Docket
and page numbers for such filing.

      E.     Pinpoint Citations Required

      In all Court filings that cite to or rely on evidentiary materials or legal
authority, the filer shall provide pinpoint citations to the page (and line or
paragraph if available) that supports the fact or legal proposition at issue. General
references to a deposition or case law are inadequate. The Court will disregard
any assertion of fact or law that is not supported by a pinpoint citation.

      F.     Motions to Extend Deadlines and to Continue Proceedings

      The deadlines established in this CMSO are purposeful and are not
advisory. Thus, the Court generally denies motions to extend such deadlines or to
continue the proceedings. As noted below—depending on the deadline at issue—
the Court will grant such motions only upon showing of good cause—which
requires diligence. See also Local Rule 3.08(a).

             1.    Summary Judgment Motions




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       In light of the Court’s heavy trial calendar and the extensive judicial
 resources and time required to resolve summary judgment motions, such motions
 must be fully briefed at least four months before the trial term assigned in this
 CMSO. Absent a showing that manifest injustice will result, the Court will deny
 any motion for an extension of the dispositive motion deadline that will result
 in a motion for summary judgment being fully briefed less than four months
 before trial.

              2.    Continuance of Trial

       Absent a showing that manifest injustice will result, the Court will deny
 motions to continue trial. Further, the Court will strike a motion to continue trial
 unless it includes a certification—signed by the moving party’s lead trial counsel—
 affirming that that the moving party has been informed of and agrees to the
 motion to continue trial. See Local Rule 3.08(b).

              3.    Other Deadlines

        Motions to extend other deadlines established in this CMSO—especially
 the discovery deadline—are strongly disfavored and will be summarily denied
 absent a showing of good cause and explicit recitations of the following:
 (a) whether the motion is agreed or opposed; (b) the impact—if any—that the
 parties expect the deadline extension will have on the trial date and summary
 judgment deadline; (c) the specific reasons that any additional discovery is both
 necessary and could not be completed in the time allotted by this CMSO; and
 (d) the parties’ agreement that any evidence obtained in the extended discovery
 period will be unavailable for summary judgment purposes, and the extension
 will not be relied on in any way to support another motion to continue or to extend
 a deadline. See Fed. R. Civ. P. 16(b)(4); Local Rule 3.08(a).

       G.     Sealing Court Records

        Maintaining judicial records under seal is an administrative burden and is
 contrary to the public’s right to open judicial proceedings. Thus, motions to seal
 should be made sparingly and only after determining that: (1) the filing of each
 item to be sealed is necessary to a fair resolution of this matter; (2) the sealing of
 each items is necessary to protect an important right—such as the advantageous
 commercial advantage afforded by a trade secret or the privacy interests of
 vulnerable persons; and (3) the important right at issue cannot be satisfactorily
 protected by means other than sealing the record. Further, when filing a request



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 to seal, the moving party must strictly comply with the pertinent procedural and
 formatting instructions set forth in Local Rule 1.11. Stipulations to seal filings
 that do not set forth an explanation of the above factors will be summarily
 denied.

       H.    Protective Orders and Orders Compelling Discovery

        The parties must be diligent in their discovery efforts and—subject to
 compliance with the Good Faith Conference and Certification Requirements—
 must promptly raise any discovery dispute with the Court. In raising such a
 dispute, the moving party must comply with the procedural and formatting
 instructions set forth in Local Rule 3.01(a). The parties must also comply with any
 discovery standing orders entered by the assigned Magistrate Judge. The parties
 are advised that the Court routinely denies motions to compel that are filed after
 the discovery deadline as untimely.

       I.    Emergency and Time-Sensitive Motions

        Promptly after filing an emergency motion, counsel shall notify the Court
 by placing a telephone call to the Undersigned’s Courtroom Deputy Clerk (407-
 835-4211). Counsel are advised that the designation “emergency” or “time-
 sensitive” may cause the Court to abandon other pending matters in order to
 immediately address the motion. The Court will sanction any counsel or party
 who designates a motion as an “emergency” under circumstances that are not a
 true emergency. It is not a true emergency when a party has delayed discovery
 until the end of the discovery period or has otherwise failed to exercise diligence;
 in other words, procrastination is not an emergency. In any event, the Court may
 consider and determine a motion designated as an “emergency” or “time-
 sensitive” at any time. See Local Rule 3.01(e).

       J.    Daubert and Markman Motions

        Any party seeking a ruling pursuant to Federal Rule of Evidence 702 and
 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) (concerning the
 admissibility of expert opinions) or pursuant to Markman v. Westview Instruments,
 Inc., 517 U.S. 370 (1996) (concerning the interpretation of a patent claim) should
 file and serve a motion requesting such relief on or before the summary judgment
 deadline established in this CMSO. Until the deadline for filing a Response to a
 Daubert or Markman Motion, the parties may request an evidentiary hearing and
 also may prepare a glossary of technical or scientific terms. (Note that Daubert


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 motions have a different deadline set forth in this CMSO than traditional limine
 motions. Daubert motions filed after the summary judgment deadline will not be
 considered.)

        K.      Motions for Summary Judgment

                1.      Number

     Absent leave of the Court, no party shall file more than one (1) motion for
 summary judgment.

                2.      Format and Supporting Materials

       A party’s motion for summary judgment and supporting memorandum of
 law shall be presented in a single document of not more than twenty-five (25)
 pages. This single document shall:

        a.      include a separate section labeled “Undisputed Facts” specifying the
                material facts as to which the moving party contends there is no
                genuine issue for trial together with pinpoint citations to the record
                evidence;

        b.      include a memorandum of law with pinpoint citations to supporting
                legal authority;

        c.      be accompanied by affidavits and other evidence in the form required
                by Rule 56.

                3.      Responses

        Within twenty-one (21) days after being served with a summary judgment
 motion, an opposing party may file a Response that shall include a distinctly
 identified section specifying the material facts as to which the responding party
 contends there are genuine issues for trial together with pinpoint citations to the
 record evidence. Failure to timely file a Response may result in the entry of
 judgment for the movant without further proceedings. 7 See Local Rule 3.01(c).



        7 See Milburn v. United States, 734 F.2d 762, 765–66 (11th Cir. 1984); Griffith v. Wainwright,
 772 F.2d 822, 825 (11th Cir. 1985) (per curiam); see also Fed. R. Civ. P. 56(e).



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              4.    Pinpoint Citations

       Any facts set forth in the summary judgment motion or response that are
 not accompanied by a specific pinpoint citation to the record evidence will not be
 considered in resolving the motion.

              5.    Replies

       Within fourteen (14) days after being served with a Response, the moving
 party may file a reply memorandum, not exceeding seven (7) pages. See Local Rule
 3.01(d). Other than for summary judgment motions, replies are not permitted
 without specific leave. See infra Part III.L.3.

              6.    Joint Stipulations of Fact

        On or before the deadline to file a Response (supra Part III.K.3), the parties
 may jointly file a stipulation of agreed material facts signed by the movant and the
 responding party (“SJ Stipulation”). See Local Rule 3.05. Because the facts must be
 construed in the light most favorable to the nonmoving party at the summary
 judgment stage, the Court will consider SJ Stipulations only for purposes of
 resolving a summary judgment motion. The parties are prohibited from citing to
 SJ Stipulations in any other context. Because SJ Stipulations are likely to expedite
 the Court’s resolution of a summary judgment motion and are inapplicable in any
 other procedural context, the Court strongly urges the parties to jointly file an
 SJ Stipulation concerning all material facts that are supported by the record when
 viewed in the light most favorable to the nonmoving party.

              7.    Hearings

        Unless specifically ordered, the Court will not hold a hearing on the
 summary judgment motion. See Local Rule 3.01(h). Unless a different date is set
 by the Court, motions for summary judgment are taken under advisement thirty-
 six (36) days from the date they are filed.

       L.     All Other Motions, Including Motions In Limine

       On or before the date established by this CMSO, the parties shall file and
 serve all other motions including motions in limine.

              1.    Responses


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         Within fourteen (14) days after being served with any motion—except
 motions listed in Local Rule 3.01(c) and motions in limine—an opposing party shall
 file a Response.

              2.     Unopposed or “Agreed” Motions

         When a moving party includes the terms “unopposed” or “agreed” in the
 title of its motion, the filing will come to the Court’s attention prior to the Response
 deadline. Further, the Court routinely grants motions as unopposed when no
 Response is filed. See Local Rule 1.09.

              3.     Replies Not Permitted

       Absent leave of Court, a party shall not file a reply to any motion other than
 a motion for summary judgment (see supra Part III.K.3). See Local Rule 3.01(d).

              4.     Special Rules for Motions in Limine

       Absent leave of Court, no party shall file more than one motion in limine.

       Responses to motions in limine are due within seven (7) days.

        The parties are required to conduct a substantive meet-and-confer prior
 to filing any motion in limine, and failure to do so may result in the imposition
 of sanctions.

       Generic omnibus motions in limine that merely ask the Court to enforce a
 laundry-list of the rules of evidence, procedure, professionalism, and the like are
 strongly discouraged.

                                IMPORTANT NOTICE

  The Court will strictly enforce the filing requirements for motions and
  memoranda—in particular the pinpoint citation, page limit, and evidentiary
  support requirements, the filing deadlines, the duplicative filing prohibition,
  and the requirements for formatting and font size. The filing of noncompliant
  documents provides sufficient grounds to strike such documents from the
  record.




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 IV.   MEDIATION

       A.     Purpose

        To minimize costly pre-trial procedures in cases that may be equitably
 settled after discovery, and to secure the just, speedy, and inexpensive
 determination of this action, all parties shall participate in good faith in mandatory
 mediation. See Local Rule 4.01.

       B.     Deadlines

              1.    To Schedule Mediation

       Within fourteen (14) days of the entry of this CMSO, Designated Lead
 Counsel shall—after conferring with opposing counsel and the mediator—file a
 Notice with the Court advising of the date and location of the parties’ mediation.

              2.    To Complete Mediation

       The parties shall complete the mediation conference on or before the
 mediation date set in this CMSO. Neither the mediator nor the parties have
 authority to continue the mediation conference beyond this date except on express
 order of the Court.

       C.     The Mediator

              1.    Appointment

       The parties should identify their preferred mediator in their Case
 Management Report, and the Court prefers to appoint such mediator. See Local
 Rule 4.03(a). If the parties’ Case Management Report does not identify a preferred
 mediator, then the Court will designate a certified mediator for the parties.

              2.    Authority

       Except as limited by this CMSO, the appointed mediator shall have all
 powers and authority to conduct a mediation and to settle this case as are
 described in Chapter Four of the Local Rules. In order to coordinate the mediation
 conference, the mediator may set an abbreviated scheduling conference prior to
 the scheduled mediation. At such time, the mediator may designate one or more



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 coordinating attorneys to be responsible for conferring with the mediator
 regarding the mediation conference. If necessary, the coordinating attorney may
 coordinate the rescheduling of a mediation conference within the time allowed in
 this CMSO.

      The mediation shall continue until adjourned by the mediator. Only the
 mediator may declare an impasse or end the mediation.

              3.    Compensation

       Absent agreement of the parties and the mediator, and in accordance with
 Local Rule 4.02(d), mediators shall be compensated at a reasonable hourly rate,
 which shall be borne equally by the parties.

       D.     Mediation Rules and Procedures

              1.    Attendance and Settlement Authority Requirements

       Each attorney acting as lead trial counsel, and each party (and in the case of
 a corporate party, a corporate representative) with full authority to settle, shall
 attend and participate in the mediation conference. In the case of an insurance
 company, the term “full authority to settle” means authority to settle for the full
 value of the claim or policy limit. Participants shall be prepared to spend as much
 time as may be necessary to settle the case. No participant may force the early
 conclusion of a mediation because of travel plans or other engagements.

        The Court will impose sanctions upon lead counsel and parties who do
 not attend and participate in good faith in the mediation conference.

              2.    Case Summaries

        Not less than two (2) days prior to the mediation conference, each party shall
 deliver a case summary to the mediator (“Summary”). The Summary shall:
 (a) concisely summarize the facts and issues of the case; and (b) if a corporate party
 is involved, identify the name and general job description of the employee or agent
 who will attend and participate with full authority to settle on behalf such
 corporate party.

              3.    Confidentiality of Mediation Conference




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         All discussions, representations, and statements made at the mediation
 conference are privileged settlement negotiations and are inadmissible to prove
 liability for or invalidity of a claim or its amount. Except in a supplemental
 proceeding to enforce a settlement agreement, nothing related to the mediation
 conference shall be admitted at trial or be subject to discovery. See Fed. R. Evid.
 408; Local Rule 4.03(g).

              4.    Settlement

       If the parties agree to a settlement during the mediation conference, the
 parties and their attorneys shall: (a) reduce the agreement to writing; (b) sign the
 written agreement in the presence of the mediator; and (c) promptly notify the
 Court of the settlement. See Local Rule 3.09.

              5.    Mediator’s Report

        Within seven (7) days of the conclusion of the mediation conference, the
 mediator shall file and serve a written mediation report pursuant to Local Rule
 4.03(f). The mediator also may report any conduct of a party or counsel that falls
 short of a good-faith effort to resolve the case by agreement or fails to comply with
 this CMSO.

 V.    PREPARATION FOR TRIAL

       A.     In Person Pre-Trial Meeting

       On or before the date established by this CMSO, lead trial counsel and any
 unrepresented parties shall meet together in person (“Pre-Trial Meeting”) to
 discuss the following matters in a good-faith effort either to avoid trial or to
 coordinate a fair, thoughtful, and efficient presentation of the matter at trial.
 (Motions to attend the Pre-Trial Meeting electronically are strongly disfavored.)

              1.    Settlement

       The parties shall thoroughly and exhaustively discuss settlement of the
 action before undertaking the extensive efforts needed to conduct final
 preparation of the case for trial and to comply with the requirements of this CMSO.
 The parties also should discuss whether assistance from the Court is desired—
 such as referral to a U.S. Magistrate Judge for a settlement conference.




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                2.      Stipulations

        The parties shall stipulate to as many facts and issues as possible. The parties
 shall file a Joint Final Pretrial Statement listing agreed facts and principles of law
 other than those that remain for determination at trial.

                3.      Depositions

         The parties shall advise one another of the depositions they will seek to use
 at trial—including citations to specific pages and lines from such depositions. The
 parties also shall discuss and attempt to resolve any objections. See infra
 Part V.C.2.b.

                4.      Witnesses

        The parties shall prepare and exchange witness lists, which shall include the
 names and addresses of all witnesses and an indication of whether the witness is
 likely to be called on direct examination. The parties also should determine
 whether they will request that the Court exclude witnesses from the trial
 proceedings in accordance with Federal Rule of Evidence 615.

                5.      Exhibit Lists

       The parties shall prepare and exchange draft exhibit lists using the form
 attached to this Order. See Local Rule 3.07.

                6.      Disclosure Requirements

        Without exception, at the Pre-Trial Meeting, the parties are required to
 disclose to one another accurate and complete copies of ALL materials they intend
 to use at trial for any purpose (other than impeachment)—including admission
 into evidence, tendering to a witness, or presentation to the jury. Without
 limitation, this Pre-Trial Meeting disclosure requirement applies to:

        a.      Demonstrative aids; 8

        8It is imperative that the parties disclose their respective demonstrative aids in the exact
 form they will be used at trial. For instance, if the proposed aid is a PowerPoint presentation, the
 presentation must be shown to the other side in the exact manner it will be presented at trial.
 Likewise, any animations or other active aids must be presented as they will be viewed at trial.
 Mere descriptions, summaries, and examples of proposed demonstrative aids are insufficient,



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        b.      Summaries of voluminous materials (see Fed. R. Evid. 1006);

        c.      All exhibits listed on the parties’ respective exhibit lists, including
                sensitive exhibits; and

        d.      All materials and documents that may be tendered to a witness at trial
                for any purpose (other than impeachment).

                7.      Marking Exhibits

       The parties shall examine and mark the exhibits in the manner prescribed
 by Local Rule 3.07 and the attached instructions. Any questions concerning the
 marking of exhibits or the creation of Exhibit Binders (see infra Part VII.B) shall be
 directed to the Courtroom Deputy well in advance of trial.

                8.      Good-Faith Conferral Requirement

        The parties shall discuss and make a good-faith effort to resolve disputes
 concerning: (a) admissibility of all exhibits; and (b) use of any demonstrative aids.
 The Court anticipates that the parties will agree to the admission of the bulk of the
 opposing parties’ exhibits without objection. To the extent an objection to an
 exhibit or demonstrative aid cannot be resolved by the parties after diligent and
 good-faith efforts, such objection shall be noted on the exhibit lists. Any objection
 that is not disclosed on the exhibit list is waived and will not be considered by the
 Court. 9

                9.      Order of Proof and Presentation of Evidence

        Mindful to the fact that the Court requires efficient use of all trial time and
 that parties must rest their case when the party does not have a witness or evidence
 available to present during the hours designated for trial, the parties should
 discuss any issues that may arise concerning witness availability and the order of
 proof. The parties should promptly advise the Court before trial if any request will


 and at trial, the Court will exclude any demonstrative aid that is not fully and timely disclosed in
 accordance with the requirements of this Order. (See infra Part IX.A.4.a.)
         9 To avoid delay and confusion, the Court expects that any objection to a demonstrative

 aid shall be raised in the parties’ motion in limine. This is particularly true of any demonstrative
 aid that may be used in opening argument or on the first day of trial.



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 be made for a special accommodation in the presentation of evidence or order of
 proof. See Fed. R. Evid. 611(a).

        In compelling circumstances only and only if brought up at the Pre-Trial
 Conference, the Court may permit presentation of witness testimony in open court
 by contemporaneous transmission from a different location. See Fed. R. Civ. P.
 43(a).

              10.   Joint Final Pretrial Statement (“PTS”)

        The parties shall discuss all other matters that are pertinent to the
 preparation and filing of the PTS and required attachments thereto, discussed in
 detail below. See infra Parts V.B and V.C.; Local Rule 3.06(a).

                               IMPORTANT NOTICE

  The parties must be fully prepared for trial on the deadline set in this CMSO for
  filing the PTS. After that date—and particularly during the Pre-Trial
  Conference—the parties must demonstrate their readiness for trial. Failure to
  exhibit such readiness constitutes a violation of this CMSO.

       B.     The PTS

       On or before the date set in this CMSO, the parties must file their joint PTS
 along with all of the required attachments noted infra. Upon such filing, the
 pleadings merge into the PTS, and the PTS then controls the trial of this matter. See
 Local Rule 3.06(b). In separately and clearly denominated sections, the PTS must
 include all information required by Local Rule 3.06(b).

       In addition to the material required by the Local Rules, the PTS must also
 include an estimated length of trial, be signed (with the required certification) by
 lead counsel for all parties and/or any pro se parties (Local Rule 3.06(b)(15)), and
 it must include all of the attachments noted in Part V.C, infra. The Court will strike
 any PTS (or attachment thereto), which is unilateral, unsigned, or otherwise
 incomplete.

       C.     Attachments to the PTS

              1.    Exhibit Lists



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        The parties shall prepare joint and individual exhibit lists on the Clerk’s
 approved forms and shall file the lists as attachments to the PTS. (See supra
 Part V.A.5.) The exhibit lists shall include, in the appropriate columns: (a) a
 descriptive notation sufficient to identify each numbered exhibit; (b) the identity
 of the sponsoring witness (if any); (c) specific objections to admission of the exhibit
 with pinpoint citations to pertinent legal authority (e.g. “Federal Rule of Evidence
 __”); and (d) if applicable, a symbol (e.g. “A” or “*”), which indicates that the
 exhibit will be admitted into evidence by agreement or without objection. See Local
 Rule 3.07. Failing to include an objection on the exhibit list will result in it being
 waived.

                     a.    Joint Exhibit List of All Stipulated and Unopposed
                           Exhibits

        To avoid duplicative trial exhibits and to prevent confusion in the record,
 the parties shall include all stipulated and unopposed exhibits on a single list
 (“Joint Exhibit List”). For example, if no objection is raised to an exhibit of medical
 records, the exhibit should be marked as a Joint Exhibit during the Pre-Trial
 Meeting, and it should be listed only on the Joint Exhibit List. No opposed exhibits
 should be included on the Joint Exhibit List.

                     b.    Individual Exhibit Lists of Opposed Exhibits

       Each party shall include on an individual exhibit list only those exhibits to
 which an opposing party has objected. No party shall include on their Individual
 Exhibit List any exhibit that: (i) is unopposed or stipulated (these should be
 included only on the Joint Exhibit List); or (2) the Court has determined is
 admissible after objection (which exhibits also should be included only on the Joint
 Exhibit List). (See infra Part VIII. (describing exhibit binders).)

              2.     Deposition Designations and Color-Coded Transcripts

        The PTS shall include, as attachments, deposition designations
 (“Designations”) and color-coded deposition transcripts (“Transcripts”), which
 identify the deposition testimony that each party intends to publish to the jury at
 trial and any unresolved objections thereto. This does not apply to depositions
 intended to be offered only for impeachment. See Local Rule 3.06(b)(8).

                     a.    Designations




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       The Designations shall specify, in separately and clearly identified sections:

       • The reason that the deposition testimony will be used instead of
         testimony of a live witness and the method by which the party intends
         to present the deposition testimony at trial (by video, read into the record
         by the Court, etc.);

       • Any objection to the use of deposition testimony instead of live witness
         testimony;

       • Identification of the specific deposition testimony by citation to page and
         line numbers from the deposition transcript; and

       • For any admissibility objections that remain after active, substantial, and
         good-faith efforts at resolution, identification of the unresolved
         objection, including both citation to pertinent legal authority and a
         substantive explanation of the basis for each objection.

                    b.     Objections

        Non-specific, boilerplate designation objections will be summarily denied.
 Designation objections shall include a signed certification by the parties’ counsel
 that they engaged in the requisite good-faith conference.

       The parties are cautioned that failure to engage in a substantive, good-
 faith conference on the deposition objections, resulting in voluminous,
 frivolous objections remaining for the Court’s resolution, may subject both
 parties to sanctions.

                    c.     Transcripts

        The color-coded deposition Transcripts (preferably mini-script versions)
 shall be highlighted in different colors to indicate the testimony that each party
 intends to publish at trial. In the margins of the color-coded Transcript, the parties
 also shall note any unresolved objections to the highlighted testimony.

              3.    Jointly Proposed Jury Instructions




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        In cases to be tried before a jury, the parties shall attach to the PTS a single
 set of jointly proposed jury instructions. The parties must number each proposed
 instruction and submit them in the order they are to be presented to the jury.

        The Court generally uses its own preliminary instructions; thus, the parties’
 jointly proposed instructions should cover only the instructions that will be
 given at the close of the case.

                     a.    Pattern Instructions

        The Court prefers the latest version of the Civil Pattern Jury Instructions
 approved by the U.S. Court of Appeals for the Eleventh Circuit
 (“Pattern Instructions”). The parties must cite to a Pattern Instruction or to other
 legal authority for each proposed instruction. At the Court’s website, the parties
 can access a copy of the Pattern Instructions and also can link to a Jury Instruction
 Builder that uses the Pattern Instructions:

       http://www.flmd.uscourts.gov/forms/forms_policies.htm

       http://pji.ca11.uscourts.gov

                     b.    Contested Instructions

       If the parties are unable to resolve a dispute concerning a jury instruction
 despite a good-faith effort to do so at the Pre-Trial Meeting, the contested charge
 must be included with the jointly proposed jury instructions. A contested charge
 must: (i) be clearly marked as contested; (ii) identify the party requesting the
 charge; and (iii) provide summaries of the parties’ respective arguments and legal
 authority in favor of and against the Court’s use of the contested instruction. The
 arguments and legal authorities should be provided immediately after the
 contested instruction. The Court will deny outright a proposed instruction that
 does not cite to supporting legal authority or is “slanted” in any way.

      Objections must be noted in the same jointly proposed document;
 submitting separate instructions is not permitted.

       Failure to properly meet-and-confer on the jury instructions will result in
 sanctions and the case being removed from the trial docket.

              4.     Verdict Form


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        In cases to be tried before a jury, the parties shall attach to the PTS a single
 jointly proposed verdict form.

      The parties should be considerate of their jury; therefore, they should
 submit a concise and straightforward special verdict form. See Fed. R. Civ. P. 49(a).

      The parties must submit one jointly proposed verdict form. Any objections
 may be noted, but submitting two separate forms is not permitted.

              5.     Voir Dire

       In cases to be tried before a jury, as an attachment to the PTS, the parties
 may include a single list of jointly proposed questions for the Court to ask the
 venire during voir dire.

       D.     Email to Chambers

       On or before the date the parties file the PTS and Attachments with the
 Court, they also must provide the Court with editable copies of the following
 documents in Microsoft Word® format: (1) the PTS; (2) the jointly proposed jury
 instructions; (3) the jointly proposed verdict form; and (4) any jointly proposed
 questions for the venire. These documents should be sent by electronic mail to
 chambers_flmd_Dalton@flmd.uscourts.gov.

       E.     Responsible Parties

        All parties are responsible for holding the Pre-Trial Meeting and for filing
 and emailing the PTS and attachments in full compliance with this CMSO. (Supra
 Parts V.A, V.B, & V.C.) Plaintiff’s counsel (or plaintiff if all parties are proceeding
 pro se) shall have the primary responsibility to coordinate such compliance. If only
 the plaintiff is proceeding pro se, then the defendant’s counsel shall coordinate
 such compliance. If compliance with these requirements cannot be obtained after
 good-faith efforts, the responsible party must promptly notify the Court by written
 motion or request for a status conference.

       F.     Trial Briefs

     Trial briefs may be filed with the Court on or before the deadline set in this
 CMSO.


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       In the case of a bench trial, the parties are required to file trial briefs with
 proposed findings of fact and conclusions of law, and they also must email
 editable copies of the trial briefs in Microsoft Word® format to
 chambers_flmd_Dalton@flmd.uscourts.gov.

 VI.   FINAL PRE-TRIAL CONFERENCE

       A.     Lead Trial Counsel and Parties

       The Court will conduct a final pre-trial conference (“PTC”) on the date set
 by this CMSO, and lead trial counsel and local counsel for each party (if any),
 together with any unrepresented party, must attend in person unless previously
 excused by the Court.

       B.     Substance of Final Pre-trial Conference

        Because this case must be fully ready for trial at the time that the PTS is due,
 at the final PTC, all parties and their counsel must be prepared and authorized to
 take all acts necessary to facilitate the just, speedy, and inexpensive disposition of
 the action, including by: (1) admitting facts and documents to avoid unnecessary
 proof; (2) stipulating to the authenticity of documents; (3) eliminating frivolous,
 redundant, and unsupported claims; (4) formulating and simplifying the
 remaining issues; (5) arguing pending motions and unresolved evidentiary
 disputes; (6) establishing reasonable limits on the time allowed for trial; and
 (7) addressing settlement. See Fed. R. Civ. P. 16(c)–(d).

 VII. REVISED TRIAL MATERIALS

         The PTC sometimes results in significant changes in the case, which require
 revision of the trial materials previously submitted with the PTS. (See supra
 Parts V.B and V.C.) Thus, if warranted by the PTC, on the date set by this CMSO
 for filing “revised trial materials,” the parties shall exchange and file with the
 Court revised versions of their: (1) witness and exhibits lists; (2) deposition
 designations and transcripts; (3) jointly proposed jury instructions; (4) jointly
 proposed verdict form; and (5) jointly proposed voir dire questions (if any). On
 the same date, the parties also shall provide the Court with editable copies of the
 following revised trial materials in Microsoft Word® format: (1) the jointly
 proposed jury instructions; (2) the jointly proposed verdict form; and (3) the jointly
 proposed questions for the venire. These documents must be sent by email to


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 chambers_flmd_Dalton@flmd.uscourts.gov. Revised witness or exhibit lists filed
 after the deadline will be summarily stricken.

 VIII. EXHIBIT BINDERS

        At the commencement of trial or an evidentiary hearing, the parties shall
 provide the Court with binders containing all of the exhibits that may be used. The
 parties’ respective individual binders should only include exhibits that are subject
 to an unresolved objection as to admissibility. All other exhibits—to which no
 objection is pending—shall be included in a “Joint Exhibit Binder.”

         All of the Joint Exhibit Binders should be white. All of Plaintiff’s Exhibit
 Binders should be black. All of Defendant’s Exhibit Binders should be a color that
 is distinguishable from the white and black binders (e.g. purple or green).

 IX.   TRIAL

                                IMPORTANT NOTICE

  The parties and their counsel shall carefully review Local Rule 5.03, which
  provides the minimal standards of Courtroom Decorum. The Court will strictly
  enforce these standards and rules of conduct during trial.

  The parties must be mindful not to waste the valuable time of the jurors and the
  Court. Sidebars should rarely be requested. And the Court will require that a
  party rest its case when it does not have a witness or exhibit available to
  present during the time set for trial.

       A.     Trial Before A District Judge

              1.     Trial Calendar

         On the date that the trial term assigned by this CMSO commences, counsel,
 parties, and witnesses shall be available for trial on twenty-four (24) hours’ notice.
 The case will normally be called for trial on the first day of the assigned trial term
 or as soon after that date as is possible in light of the Court’s criminal and civil trial
 calendars. Generally, criminal trials are given priority and will be held before any
 civil trial set in the same trial term. Cases not reached for trial in the month of the
 assigned trial term will be carried over to the following month on a rolling trial
 calendar. Issued subpoenas will continue in force.


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              2.    Reassignments

        A different judge—either a visiting judge or another District Judge—may be
 assigned to conduct the trial of this matter. See Local Rule 1.04(b). The case may be
 set for trial in the Orlando Division, Tampa Division, Fort Myers Division, Ocala
 Division, or Jacksonville Division of the Court. See Local Rule 1.04(a).

              3.    Conferral with the Courtroom Deputy Clerk & Examination
                    of the Courtroom Before Trial

       The design of certain courtrooms may preclude the use of large exhibits and
 posters in a jury trial.

       The Court will not provide time during trial for counsel to familiarize
 themselves with the technology and equipment available in the Courtroom.
 Accordingly, prior to trial, the parties are DIRECTED to contact the trial judge’s
 courtroom deputy clerk to discuss exhibits and equipment to be used during trial
 and to coordinate pre-trial access to the courtroom and to become familiar with
 courtroom and the available technology equipment.

        The parties must be mindful of wasting the jury’s time with technological
 issues. If the courtroom technology is not working and the parties did not walk
 through it with the courtroom deputy prior to trial, the Court will direct the
 parties to move on without the use of that technology.

              4.    Evidence, Objections, and Examinations

                    a.     Exhibits and Trial Materials

       The Court WILL SUSTAIN an objection to use or admission of any material
 or exhibit that was not: (i) timely and properly produced before the discovery
 deadline set in this CMSO); (ii) presented at the Pre-Trial Meeting (see supra
 Part V.A.6); and (iii) included on the exhibit lists filed with the Court (see supra
 Part V.C.1).

        The Court will also overrule objections that were not timely raised and
 specifically stated on the exhibit lists or in a motion in limine. A general statement
 that a party “reserves” its objections is ineffective to avoid waiver.




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                     b.     Fact Witnesses

         Generally, the Court will prohibit the parties from calling a witness to testify
 on direct examination at trial unless the witness was: (i) properly and timely
 disclosed during discovery; (ii) identified at the Pre-Trial Meeting; and
 (iii) included on a witness list filed with the Court.

                     c.     Expert Witnesses

        Generally, the Court will prohibit the parties from calling an expert witness
 to testify at trial unless: (i) the witness was timely identified as an Expert Witness
 in accordance with Rule 26(a)(2)(A); (ii) an Expert Report or Expert Disclosure was
 timely produced for the witness (see supra Part II.G); and (iii) the witness was
 identified at the Pre-Trial Meeting and disclosed on an expert witness list filed
 with the Court (see supra Part V.A.4). Further, on direct examination, the Court will
 strictly limit an expert witness’s testimony to the matters that are fully and timely
 disclosed in an Expert Report or Expert Disclosure. (See supra Part II.G.)

       The party calling an expert witness must provide a hard copy of the Expert
 Disclosure to the Court immediately prior to the beginning of that witness’s
 testimony.

                     d.     Examinations

       Re-cross is not permitted.

       B.     Date Certain Trial Before Magistrate Judge

         A case scheduled for trial before a U.S. Magistrate Judge will be called for
 trial on a date certain. With respect to a civil case that remains pending before a
 District Judge as of the date of this CMSO, the U.S. District Judges of the Middle
 District of Florida wish to afford the parties the opportunity to consent to proceed
 before a Magistrate Judge. Consent must be unanimous. A U.S. Magistrate Judge
 is available pursuant to 28 U.S.C. § 636(c) and Rule 73(a) to conduct all further
 proceedings (or specified motions) in this case, to conduct a jury or non-jury trial
 beginning on a date certain, and to enter final judgment. A party may appeal a
 final judgment of a Magistrate Judge to the U.S. Court of Appeals for the Eleventh
 Circuit in the same manner as an appeal from the District Court. 28 U.S.C.
 § 636(c)(3); Fed. R. Civ. P. 73. A party is free to withhold consent without adverse




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 substantive consequences. 28 U.S.C. § 636 (c)(2); Fed. R. Civ. P. 73(b). Consent
 forms are attached to this CMSO.

 X.      SETTLEMENT

       Counsel shall immediately notify the Court upon settlement of any case.
 Local Rule 3.09(a).

        If the settlement occurs on the eve of trial and will eliminate the need for a
 jury, the parties must notify the Court by 11:30 a.m. on the last business day
 before the date scheduled for jury selection. Failure to provide such timely notice
 to the Court will subject each party to joint and several liability for jury costs.

         Regardless of the status of settlement negotiations, the parties shall appear
 for all scheduled hearings—including the PTC—and for trial, absent the filing of a
 stipulation of dismissal signed by all parties who have appeared in the action (or
 notice of dismissal if prior to answer and motion for summary judgment). Fed. R.
 Civ. P. 41(a).

         DONE AND ORDERED in Chambers in Orlando, Florida, on June 2,
 2022.




 Attachments:              Exhibit List Form [mandatory form]
                           Instructions for Pre-Marking of Exhibits
                           Magistrate Judge Consent / Entire Case
                           Magistrate Judge Consent / Specified Motions

 Copies to:                All Counsel of Record




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                                         EXHIBIT LIST
                               Government                 Plaintiff                Defendant                Court



                      Case No.
                      Style:


 Exhibit        Date                Date                Sponsoring            Objections /               Description
 No.            Identified          Admitted            Witnesses             Stipulated                 of Exhibit
                                                                              Admissions 1




        1Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without
objections. Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box on the left
must be one inch wide to accommodate the Clerk’s stamp.
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                                                               UNITED STATES DISTRICT COURT
                                                                 MIDDLE DISTRICT OF FLORIDA
                                                                                Orlando Division
                                                                     Judge Roy B. Dalton, Jr.


                   NOTICE TO COUNSEL and UNREPRESENTED PARTIES

                    Instructions Regarding Pre-Marking Exhibits,
               Preparation of Exhibit Lists, and Substitution of Exhibits 1

The parties shall prepare their trial exhibits in accordance with Local Rule 3.07, the Case
Management and Scheduling Order (“CMSO”), and the following instructions.

The parties shall prepare exhibit binders containing all of the exhibits that may be used at
trial. All exhibits to which no objection is pending and all exhibits that are stipulated to shall
be included in a joint exhibit binder (“Joint Exhibit Binder”). Thus, the Joint Exhibit Binder
will contain: (1) exhibits for use by both parties to which no objection is pending; (2) exhibits
for use by Plaintiff to which Defendant does not object; and (3) exhibits for use by Defendant
to which Plaintiff does not object. Exhibits that are subject to an unresolved objection as to
admissibility shall be included in separate binders—one binder containing exhibits for the
Plaintiff/Government’s use (“Plaintiff’s Exhibit Binder”) and one binder containing exhibits
for the Defendant’s use (“Defendant Exhibit Binder”). (See CMSO.) The Joint Exhibit Binders
should be white. Plaintiff’s Exhibit Binders should be black. Defendant’s Exhibit Binders
should be a color that is distinguishable from the white and black binders (e.g., purple or
green).

The parties shall provide three sets of exhibit binders to the Court (exclusive of counsel’s
copies). One set shall be supplied to the Courtroom Deputy Clerk (“Official Set”). The Official
Set shall consist of the original exhibits that include appropriately colored exhibit tags stapled
to the upper right hand corner of the first page of the exhibits. The exhibit tags are party-
specific and are further explained below. A second set of binders shall be supplied to the Judge,
together with an index and matrix reflecting any objections thereto for the Plaintiff’s Exhibit
Binder and the Defendant’s Exhibit Binder (“Bench Set”). A third and final set shall be
positioned in the Witness Box at the outset of trial (“Witness Set”). The Bench and Witness
Sets do not require the exhibits tags. However, counsel shall use numbered tabs to tab out the
exhibits for quick reference.

Copies of Court-approved Exhibit Tags and Exhibit Lists can be found on the Court’s webpage

1These instructions are not all-inclusive; they are purposely general in nature and intended merely to supplement
the Local Rules and Case Management and Scheduling Order (“CMSO”). Counsel and/or pro se parties are
responsible forbecoming completely familiar with and fully complying with the CMSO and Local Rules. Particular
attention is drawn to Local Rule 5.03 (“Courtroom Decorum”).
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 and are self-explanatory. Green tags shall be used for joint exhibits, blue tags for Plaintiff
 exhibits, and yellow tags for Defendant exhibits. If you have any questions, contact the
 Courtroom Deputy Clerk at 407-835-4211. Unrepresented (“pro se”) parties may obtain
 additional tags from the Clerk.

 Counsel and pro se parties are responsible for including a complete list of the exhibit number(s)
 and a detailed description of each exhibit into the attached Exhibit List.

 At the commencement of trial, counsel and pro se parties, if any, shall provide THREE (3)
 COPIES of the Exhibit List and Witness List to the Courtroom Deputy Clerk.

 Exhibit Substitutes – You are required to offer photographs of sensitive or large physical
 exhibits (i.e., weapons, narcotics, currency, etc.), which will become the “substitute exhibit”
 at the conclusion of the case for maintenance by the Clerk. You must also submit 8½” by 11
 reductions with larger-sized documentary or similar exhibits. Unless otherwise ordered by
 the Court, should an appeal later be filed, the Clerk will send the photographic and/or
 reduced substitutes (in lieu of the original exhibits) to the U.S. Court of Appeals for the
 Eleventh Circuit in the record on appeal.

 Electronic Exhibits – As of December 1, 2016, the Eleventh Circuit requires that the electronic
 record include all exhibits admitted into evidence at trial or at an evidentiary hearing.
 Therefore, counsel should be prepared to submit in PDF format on a CD or flash drive all
 exhibits marked for identification and/or admitted during trial to the courtroom deputy
 within 7 days following the conclusion of the trial/hearing. Each exhibit is to be saved as a
 separate document, not to exceed 50 MB in size. If necessary to meet the size limitation,
 documents may be separated into subparts such as Exhibit 1-1, 1-2, etc. Counsel will be
 required to submit a certification (attached) that all parties have reviewed the submission
 and agree to its authenticity.

Audio and/or Visual Equipment – Please note that the Court has a variety of audio and
visual equipment available for use during trials. At least one week prior to trial, parties
intending to use such equipment shall notify the Courtroom Deputy Clerk and schedule an
appointment to come into court and familiarize themselves with the courtroom technology
systems. Failure to do so may result in the equipment not being available for use during trial.




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                                           UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                 ORLANDO DIVISION


ASHLEY FRANCIS,

                         Plaintiff,

v.                                                                   Case No: 6:22-cv-73-RBD-LHP

ACCOUNT RESOLUTION SERVICES, LLC

                Defendant.
__________________________

     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE
       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate
judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

           Signatures                                    Party Represented                                       Date




                                                  ORDER OF REFERENCE

       IT IS ORDERED that this case be referred to the UNITED STATES MAGISTRATE JUDGE for all further
proceedings and the entry of judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.




             DATE                                                            UNITED STATES DISTRICT JUDGE


NOTE:    RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE
         OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
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                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                  ORLANDO DIVISION

ASHLEY FRANCIS,

                         Plaintiff,

v.                                                                    Case No: 6:22-cv-73-RBD-LHP

ACCOUNT RESOLUTION SERVICES, LLC

                Defendant.
__________________________

        NOTICE, CONSENT, AND REFERENCE NOTICE, CONSENT, AND REFERENCE OF A
                     DISPOSITIVE MOTION TO A MAGISTRATE JUDGE
         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if all
parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

         Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).

         MOTION(S)




        Party Represented                                     Signatures                                          Date




                                                  ORDER OF REFERENCE

          IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


             DATE                                                             UNITED STATES DISTRICT JUDGE



NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE OF
         JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
